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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


 D.V.D.; M.M.; E.F.D.; and O.C.G.,

              Plaintiffs,                                  Case No. 25-cv-10676-BEM

                    v.

 U.S. DEPARTMENT OF HOMELAND SECURITY;
 Kristi NOEM, Secretary, U.S. Department of
 Homeland Security, in her official capacity; Pamela
 BONDI, U.S. Attorney General, in her official
 capacity; and Antone MONIZ, Superintendent,
 Plymouth County Correctional Facility, in his official
 capacity,

                 Defendants.



     JOINT STATUS UPDATE AND PROPOSED EXPEDITED DISCOVERY PLAN
                      REGARDING PLAINTIFF O.C.G.

       Pursuant to the Court’s Electronic Order of April 18, 2025, Plaintiffs D.V.D., M.M.,

E.F.D., and O.C.G. (Plaintiffs) and Defendants U.S. Department of Homeland Security (DHS),

DHS Secretary Kristi Noem, and U.S. Attorney General Pamela Bondi (Defendants) hereby file

this status update and proposed discovery plan for conducting “expedited discovery on whether

and in what form Plaintiff O.C.G. received notice of his removal to a third country.” ECF 64

(Docket Text).

                               Plaintiffs’ Proposed Discovery Plan

Plaintiffs seek a 3-week expedited discovery period as follows:

Week 1




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   •   Plaintiffs’ counsel will electronically serve Requests for Admission (RFAs) and

       Interrogatories (ROGs) regarding any written or oral notice to Plaintiff O.C.G. and/or his

       counsel. Responses would be due within 7 calendar days of service.

   •   Plaintiffs’ counsel also will electronically serve Requests for Production (RFPs) seeking:

       (a) any/all agency communications relating to efforts to deport Plaintiff O.C.G. to

       Mexico during and after removal proceedings and after deportation to Mexico, including

       all entries in the ENFORCE Alien Removal Module (EARM) database entries pertaining

       to Plaintiff O.C.G.; (b) any/all communications between agency personnel and officials

       of the Mexican government regarding Plaintiff O.C.G.; and (c) the transcript of all

       removal proceedings in Plaintiff O.C.G.’s case before the immigration judge. Responses

       would be due within 7 calendar days of service.

Weeks 2 and 3

   •   Plaintiffs will take the deposition(s) of the officer(s) referenced in paragraphs 12 and 13

       of the declaration of Brian Ortega, ECF 31-1.

   •   Plaintiffs will take the deposition of Brian Ortega.

   •   If necessary, Plaintiffs will electronically serve follow-up RFAs, ROGs, and/or

       RFPs. Responses would be due within 7 calendar days of service.

                             Defendants’ Proposed Discovery Plan

   1) One deposition (limited to 2 hours) of the Immigration and Customs Enforcement

       (ICE) Enforcement and Removal Operations (ERO) officer mentioned at para. 13

       of the declaration.

   2) Ten total written discovery requests (Rogs/RFAs).

   3) Subject to an agreed-upon protective order, ICE would agree to produce the A-


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       file and relevant EARM records (if not otherwise contained in the A-file) which

       indicate whether O.C.G. was asked about a fear of Mexico. Defendants do not

       believe additional documents are necessary to resolve this narrow discovery

       issue.

Respectfully submitted,

 s/Trina Realmuto                             YAAKOV M. ROTH
 Trina Realmuto*                              Acting Assistant Attorney General
 Kristin Macleod-Ball*
 Mary Kenney*                                 DREW C. ENSIGN
 Tomás Arango                                 Deputy Assistant Attorney General
 NATIONAL IMMIGRATION
    LITIGATION ALLIANCE                       ELIANIS N. PEREZ
 10 Griggs Terrace                            Assistant Director
 Brookline, MA, 02446
 (617) 819-4447                               MARY L. LARAKERS
 trina@immigrationlitigation.org              Senior Litigation Counsel

 Matt Adams*                                  s/ Matthew P. Seamon
 Leila Kang*                                  MATTHEW P. SEAMON
 Aaron Korthuis*                              (California Bar #309249)
 Glenda M. Aldana Madrid*                     Senior Litigation Counsel
 NORTHWEST IMMIGRANT                          U.S. Department of Justice, Civil Division
   RIGHTS PROJECT                             Office of Immigration Litigation
 615 Second Avenue, Suite 400                 P.O. Box 868, Ben Franklin Station
 Seattle, WA 98104                            Washington, DC 20044
 (206) 957-8611                               (202) 598-2648
 matt@nwirp.org                               (202) 305-7000 (facsimile)
                                              Matthew.Seamon2@usdoj.gov
 Anwen Hughes*
 HUMAN RIGHTS FIRST                           Attorneys for Defendants
 75 Broad Street, 31st Floor
 New York, NY 10004
 (212) 845-5244
 HughesA@humanrightsfirst.org

 Attorneys for Plaintiffs and Class Members

 * Admitted pro hac vice




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                                 CERTIFICATE OF SERVICE
       I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                                      s/ Trina Realmuto
                                                      Trina Realmuto
                                                      National Immigration Litigation Alliance

Dated: April 25, 2025




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